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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

                          Case No. 6:22-cv-02075-RBD-LHP

   MARISSA GIANNERINI,

          Plaintiff,

   v.

   EMBRY-RIDDLE AERONAUTICAL
   UNIVERSITY, INC.,

          Defendant.

  _________________________________/

          NOTICE OF FILING DECLARATION OF ANTHONY DEVITO
                  CERTIFYING RECORDS PURSUANT TO
                    FEDERAL RULE OF EVIDENCE 902

         Defendant, EMBRY-RIDDLE AERONAUTICAL UNIVERSITY, INC.

  (“ERAU”), through its undersigned counsel, hereby gives notice of filing the

  Declaration of Anthony DeVito Certifying Records Pursuant to Federal Rule of

  Evidence 902 (attached hereto as Exhibit A).

         Dated: January 17, 2025


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